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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                Eastern Division

Howard Cohan
                                    Plaintiff,
v.                                                     Case No.: 1:23−cv−01967
                                                       Honorable Martha M. Pacold
Springhill SMC, LLC, et al.
                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, July 12, 2023:


        MINUTE entry before the Honorable Martha M. Pacold: Pursuant to the Notice of
Voluntary Dismissal [12], this case is hereby dismissed with prejudice, with each party to
bear its own costs and attorneys' fees. Civil case terminated. (rao, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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